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                              EXHIBIT 240
        Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 2 of 7. PageID #: 164180
                                                                                                                                 P1.1667


  From:           Gustin, Dave [/O=MCKESSON/OU=NORTH AMERICA/CN=RECIPIENTS/CN=DAVE GUSTIN]
  Sent:           2/4/2011 3:08:53 PM
  To:             Williams, Tyra [tyra.williams@mckesson.com]; McIntyre, Keith [keith.mcintyre@mckesson.com]; Baronet, Lori
                  [lori.baronet@mckesson.com]
  CC:             Vanderburg, Craig [craig.vanderburg@mckesson.com]; Hilliard, Gary [gary.hilliard@mckesson.com]; Miller, Ray
                  [ray.miller@mckesson.com]
  Subject:        RE: Variance and Suspicious Reports



  (b) The registrant shall design and operate a system to disclose to the registrant suspicious orders of controlled
  substances. The registrant shall inform the Field Division Office of the Administration in his area of suspicious
  orders when discovered by the registrant. Suspicious orders include orders of unusual size, orders deviating
  substantially from a normal pattern, and orders of unusual frequency.

  It is my opinion that the previous reports were not the exclusive and proper response to this regulation. We have an
  obligation to report "suspicious orders" . With no clear definition of what constitutes a suspicious order we must rely on our
  own judgment as to what that is. If we report anything we believe to be truly suspicious we will be meeting the spirit and
  letter of the regulation. Simply reporting larger than usual orders does not when there are so many plausible and routine
  reasons for orders to be "larger than normal". ( MUS issues, someone going on vacation, a unique order pattern, a fat
  finger event, etc) I would wait until someone misses the report before seeking someone out to give them something that I
  do not agree meets their needs or requirements. Gary????
  Dave Gustin DRA North Central
  937 840 8553
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  From: Williams, Tyra
  Sent: Friday, February 04, 2011 10:01 AM
  To: Gustin, Dave; McIntyre, Keith; Baronet, Lori
  Cc: Vanderburg, Craig; Hilliard, Gary; Miller, Ray
  Subject: RE: Variance and Suspicious Reports

  Basically, I just want to make sure that we are in compliance with CFR 21 1301.74 (b). Lisa stated that this is a State
  requirement.


  Tyra Wif!iams
  An·os Coordinator
  McKesson 132
  734-855-1406
  734-779-8819 tax




  From: Williams, Tyra
  Sent: Friday, February 04, 2011 9:54 AM
  To: Gustin, Dave; McIntyre, Keith; Baronet, Lori
  Cc: Vanderburg, Craig; Hilliard, Gary; Miller, Ray
  Subject: RE: Variance and Suspicious Reports

  Lisa stated that it was the state requirement that these reports must be sent to the Bureau of Health Services in Lansing.
  No one has contacted me since she retired which was recently.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00510747
     Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 3 of 7. PageID #: 164181
                                                                                                                                 P1.1667.2


  Tyra Wif!iams
  An·os Coordinator
  McKesson 132
  734-855-1406
  734-779-8819 tax




  From: Gustin, Dave
  Sent: Friday, February 04, 2011 9:39 AM
  To: McIntyre, Keith; Baronet, Lori
  Cc: Vanderburg, Craig; Williams, Tyra; Hilliard, Gary
  Subject: RE: Variance and Suspicious Reports

  Lori and Tyra,
          Since this Lisa Gorman is retired I am wondering, who is it that contacted you last about this report and wants
  it? Are we acting out of old habit or out of current need? If current need, someone must be on the other end expecting
  this report. Who is that??

  Dave Gustin DRA North Central
  937 840 8553
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  From: McIntyre, Keith
  Sent: Wednesday, February 02, 2011 3:35 PM
  To: Gustin, Dave; Baronet, Lori
  Cc: Vanderburg, Craig; Williams, Tyra; Hilliard, Gary
  Subject: RE: Variance and Suspicious Reports

  No Quedes for the States! Dave needs to collect your requirements and then we can proceed w/ real development.

  Thanks,


  1<.-e:itf... McJ:n.t3/re
  Director of Business Systems
  Worehouse tvkmogernent Solutions
  lvkKesson Phormaceuticol
  Office: (503) 245--9887
  Fox: (503) 342--3755
  Keith.Mc lntyre@McKesson.com



  From: Gustin, Dave
  Sent: Wednesday, February 02, 2011 12:34 PM
  To: Baronet, Lori
  Cc: McIntyre, Keith; Vanderburg, Craig; Williams, Tyra; Hilliard, Gary
  Subject: RE: Variance and Suspicious Reports

  Who are you talking to in the State of Mich?       I want to talk to them and see what they want.

  Dave Gustin DRA North Central




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00510748
     Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 4 of 7. PageID #: 164182
                                                                                                                                 P1.1667.3


  937 840 8553
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  From: Baronet, Lori
  Sent: Wednesday, February 02, 2011 3:28 PM
  To: Gustin, Dave
  Cc: McIntyre, Keith; Vanderburg, Craig; Williams, Tyra
  Subject: FW: Variance and Suspicious Reports

  Dave,

  What was dedded on these reports that the state of Michigan is asking for that are no longer supplied. Tyra asked if I
  could make a query on the i-series to supply information needed to the state. Before I try to create something to send
  out I wanted to make sure that there is no legalities or legal issues preventing me from supplying this information. If
  there is an easier way to supply this info to the state of Michigan please let me know.

  Thanks,

  Lori
  734-779-8828




  From: Williams, Tyra
  To: Vanderburg, Craig
  Sent: Mon Dec 20 04:54:13 2010
  Subject: RE: Variance and Suspicious Reports

  This report goes to the DEA not the State of Michigan. The State of Michigan requires hard copies of the Variance
  DR46J6 and Suspicious DU45J6B reports. Lisa Gorman at the Bureau of Health Services acknowledges that these
  reports must be sent to her for each consecutive month that we distribute controlled substances. (We are
  referring to reports that need to go to the State of Michigan-Bureau of Health Services in Lansing, MI. .. not the
  DEA)
  Tyra Williams

  Arcos Coordinator

  McKesson 132

  734-855-1.406

  734-779-8819 fax




  From: Vanderburg, Craig
  Sent: Sunday, December 19, 2010 8:02 PM
  To: Williams, Tyra
  Cc: Matthews, Sherri
  Subject: FW: Variance and Suspicious Reports
          Let me know if you're aware of the application described below by Bill Mahoney ...... ... .


  From: Gustin, Dave




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00510749
     Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 5 of 7. PageID #: 164183
                                                                                                                                 P1.1667.4


  Sent: Friday, December 17, 2010 4:35 PM
  To: Vanderburg, Craig
  Cc: Williams, Tyra
  Subject: FW: Variance and Suspicious Reports
  Know about this???
  Dave Gustin DRA North Central
  937 840 8553
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  From: de Gutierrez-Mahoney, Bill
  Sent: Friday, December 17, 2010 4:34 PM
  To: Gustin, Dave; McDonald, Tom
  Subject: RE: Variance and Suspicious Reports
  When you observe a transaction that is suspicious, there is a wms application to be used to process to DEA-it goes with
  the automated reporting that goes to them ...


  From: Gustin, Dave
  Sent: Friday, December 17, 2010 4:28 PM
  To: McDonald, Tom; de Gutierrez-Mahoney, Bill
  Subject: RE: Variance and Suspicious Reports
  Do you know what he is talking about???
  Dave Gustin DRA North Central
  937 840 8553
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  From: McIntyre, Keith
  Sent: Friday, December 17, 2010 3:48 PM
  To: Gustin, Dave; McDonald, Tom; de Gutierrez-Mahoney, Bill
  Subject: RE: Variance and Suspicious Reports
  Don't for get that you have an iSeries program to send suspicious transactions to the DEA when necessary .....

  uit{i Jv(l111--t-~re,
  Director of Business Systems
  Warehouse Management Solutions
  McKesson Pharmaceutical
  Office: (503) 245-9887
  Fax: (503) 342-3755
  Keith.Mc lntyre@McKesson.com


  From: Gustin, Dave
  Sent: Friday, December 17, 2010 6:16 AM
  To: McDonald, Tom; de Gutierrez-Mahoney, Bill
  Cc: McIntyre, Keith
  Subject: RE: Variance and Suspicious Reports
  It is also in our province to define what is suspicious, according to the DEA. I have gotten good feedback from you and
  Bill and have a direction to take . Thanks guys!!




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00510750
     Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 6 of 7. PageID #: 164184
                                                                                                                                  P1.1667.5


  Dave Gustin DRA North Central
  937 840 8553
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  From: McDonald, Tom
  Sent: Thursday, December 16, 2010 6:38 PM
  To: Gustin, Dave; de Gutierrez-Mahoney, Bill
  Cc: McIntyre, Keith
  Subject: RE: Variance and Suspicious Reports
  I don't believe you have identified a suspicious order or customer within the last six months, have you? It is still part of our
  process to report all suspicious orders to the DEA and to the state board when they are discovered. Our current process
  better identifies suspicious orders rather than orders of interest. One man's opinion .


  Regards,


  Tom McDonald
  Director of Regulatory Affairs
  Western Region
  McKesson Pharmaceuticals
  9501 Norwalk Blvd.
  Santa Fe Springs, CA 90670
  office 562-463-2250
  cell 562-577-7699
  fax 562-463-2251


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  message.


  From: Gustin, Dave
  Sent: Thursday, December 16, 2010 2:03 PM
  To: McDonald, Tom; de Gutierrez-Mahoney, Bill
  Cc: McIntyre, Keith
  Subject: FW: Variance and Suspicious Reports
  Importance: High
  Any insights???
  Dave Gustin DRA North Central
  937 840 8553
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  From: Vanderburg, Craig




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00510751
     Case: 1:17-md-02804-DAP Doc #: 1964-28 Filed: 07/23/19 7 of 7. PageID #: 164185
                                                                                                                     P1.1667.6


  Sent: Thursday, December 16, 2010 4: 10 PM
  To: Gustin, Dave
  Cc: Williams, Tyra
  Subject: FW: Variance and Suspicious Reports
  Importance: High
  Hi Dave, Tyra reminds me that these reports are no longer generated but required by the State of Michigan. Any way we
  can obtain this information somehow??
  Craig


  From: Williams, Tyra
  Sent: Thursday, December 16, 2010 2:33 PM
  To: Vanderburg, Craig
  Subject: Variance and Suspicious Reports
  Importance: High
  Craig,
  Please do not forget that these reports must be sent to the State. We have not sent the reports for the last 6 months.


  Tyra Wif!iams

  Arcos Coordinator

  McKesson 132

  734-855-1406

  734-77fJ-8819   tax




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                     MCKMDL00510752
